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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF NEW YORK

 NEXPOINT DIVERSIFIED
 REAL ESTATE TRUST,

      Plaintiff,

 v.                                                       Cause No. 1:21-cv-04384-GHW

 ACIS CAPITAL MANAGEMENT, L.P., et al

      Defendants.

                                     NOTICE OF APPEAL

         Notice is hereby given that Plaintiff NexPoint Diversified Real Estate Trust (“NexPoint”

or “Plaintiff”) in the above-named case appeals to the United States Court of Appeals for the

Second Circuit from the judgment entered on August 22, 2022 (Dkt. 123), in which, among other

claims, the claim brought pursuant to the Investment Advisors Act (“IAA”) against Defendants

Acis Capital Management, LP, Brigade Capital Management, LP, and Joshua N. Terry are

dismissed with prejudice. Plaintiff specifically appeals only the IAA claim.

Dated: August 30, 2022                               Respectfully submitted,

                                                     SBAITI & COMPANY PLLC

                                                     /s/ Mazin Sbaiti
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